






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00522-CR






James Wesley McCartney, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TOM GREEN COUNTY, 51ST JUDICIAL DISTRICT

NOS. CR-92-0532-A &amp; CR-92-0533-A,

THE HONORABLE BARBARA L. WALTHER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		James Wesley McCartney seeks to appeal the district court's order denying his
"Motion for Leave to File a Post Conviction Application for Habeas Corpus Relief Pursuant to
Article V, Section 8 of the Texas Constitution."  We dismiss the appeal.

		The district court's order denying his motion for leave to file a writ application did
not address the merits of McCartney's writ application.  Thus, because the district court did not
rule&nbsp;on the merits of his application, the order cannot be appealed.  See Ex parte Villanueva,
252&nbsp;S.W.3d&nbsp;391, 394 (Tex. Crim. App. 2008) ("Only when a hearing is held on the merits of
an&nbsp;applicant's claims and there is a ruling on the merits of the claims may a losing party appeal.");
Ex&nbsp;parte Hargett, 819 S.W.2d 866, 869 (Tex. Crim. App. 1991) (habeas corpus applicant may only
appeal denial of relief on merits); see also Ex parte Gonzales, 12 S.W.3d 913, 914 (Tex.
App.--Austin 2000, pet. ref'd).

		Accordingly, we dismiss the appeal for lack of jurisdiction.


						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed for Want of Jurisdiction

Filed:   August 22, 2012

Do Not Publish


